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ABN/AMRO                                      AM ENT SV                          BANC OF AM
175 W JACKSON BLVD                            REBECCA STRAND                     KEVIN CARNEY
SUITE 400                                     2178 AXP FINANCIAL CENTER          100 W 33RD ST
CHICAGO, IL 60604                             MINNEAPOLIS, MN 55474              3RD FLOOR
                                                                                 NEW YORK, NY 10001


BANK OF AMERICA, NA/GWIM TRUST OPERA          BARCLAYS CAPITAL INC./LE           BARCLAY'S CAPITAL, INC./FIXED INCOME
CORP ACTIONS DEPT                             GIOVANNA LAURELLA, V.P.            PAUL MCCARTHY; CORPORATE ACTIONS
1201 MAIN ST                                  70 HUDSON STREET                   70 HUDSON STREET
10TH FLOOR                                    7TH FLOOR                          JERSEY CITY, NJ 07302
DALLAS, TX 75202                              JERSEY CITY, NJ 07302


BNP PARIBA BP                                 BNY CES                            BNY MELLON
GENE BANFI                                    H. STEVE GRIFFITH                  ATTN: MARIA L. SASINOSKI
525 WASHINGTON BLVD                           11486 CORPORATE BLVD               525 WILLIAM PENN PLACE
9TH FLOOR                                     SUITE 375                          ROOM 0300
JERSEY CITY, NJ 07310                         ORLANDO, FL 32817                  PITTSBURGH, PA 15259


BNY/LONDON                                    BNYMELLON                          BOFA/LASALLE
LISA TOWNSEND-WRIGHT                          ATTN: BETH M. STIFFLER             135 SOUTH LASALLE STREET
525 WILLIAM PENN PLACE                        525 WILLIAM PENN PLACE             SUITE 1860
SUITE 153-0300                                3RD FLOOR                          CHICAGO, IL 60603
PITTSBURGH, PA 15259                          PITTSBURGH, PA 15259


BROWN BROTHERS HARRIMAN & CO.                 C.L. KING & ASSOCIATES, INC.       CALDWELL
ATTN: JENNIFER PAYEA                          CARRIE BUSH                        ATTN: KAY CARPENTER
NEW PORT TOWERS                               9 ELK STREET                       201 CENTER ROAD
525 WASHINGTON BLVD.                          ALBANY, NY 12207                   SUITE 2
JERSEY CITY, NJ 07302                                                            VENICE, FL 34285


CDS CLEARING                                  CGM/SAL BR                         CITADEL DERIVATIVES GROUP, LLC
ATTN: LORETTA VERELLI                         PATRICIA HALLER                    MARCIA BANKS, VICE PRESIDENT
600 DE MAISONNEUVE BLVD WEST                  333 W 34TH ST                      131 SOUTH DEARBORN STREET
SUITE 210                                     3RD FLOOR                          CHICAGO, IL 60603
MONTREAL, QC H3A 3J2                          NEW YORK, NY 10001


CLEARSTREAM BANKING LUXEMBOURG                CREWS & ASSOCIATES                 CS SEC USA
42 AVENUE JF KENNEDY                          DON WINTON/ VICTORIA MASON         GLOBAL PROXY SERVICES
L-1855 LUXEMBOURG                             521 PRESIDENT CLINTON AVE          ATTN: ANTHONY MILO
                                              SUITE 800                          7033 LOUIS STEVENS DR
                                              LITTLE ROCK, AR 72201              RESEARCH TRIANGLE PARK, NC 27709


DESERET TRUST CO                              E*TRADE CAP MKTS/CHXL TRADING      ESSEX RAD
GATEWAY TOWER EAST                            ERIKA DILIBERTO                    440 S. LASALLE STREET
10 EAST SOUTH TEMPLE                          ONE FINANCIAL PLACE, STE 3030      SUITE 1111
SUITE 470                                     440 S. LASALLE STREET              CHICAGO, IL 60605
SALT LAKE CITY, UT 84133                      CHICAGO, IL 60605


EUROCLEAR SA/NV                               FIDUCIARY SSB                      FIFTH THIRD BANK
1, BOULEVARD DU ROI ALBERT II                 ATTN: PAM QUINN                    ATTN: LANCE WELLS, MGR
B - 1210                                      1776 HERITAGE DRIVE, BLDG JAB5E,   5001 KINGSLEY DRIVE
BRUSSELS,                                     NORTH QUINCY, MA 02171             MAIL DROP 1MOB2D
                                                                                 CINCINNATI, OH 45227


FOLIO INVESTMENTS                             GOLDMAN SACHS & CO                 GOLDMAN SACHS EXECUTION & CLEARING LP
JIM DETWILER / JAMES WILDESEN                 30 HUDSON STREET                   ATTN: ANTHONY BRUNO/PROXY DEPT
ATTN: PROXY SERVICES                          ATTN: MARC GROLEAU                 30 HUDSON STREET
8180 GREENSBORO DRIVE, 8TH FL.                JERSEY CITY, NJ 07302              JERSEY CITY, NJ 07302
MCLEAN, VA 22102
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HNB/FBO SC                                           INTERACTIVE BROKERS                J.P. MORGAN SECURITIES INC.
ATTN: BEVERLY REYNOLDS                               ATTN: KARIN MCCARTHY               ATTN: JOHN HALLORAN, CORP. ACTIONS
7 EASTON OVAL, EA4E62                                8 GREENWICH OFFICE PARK            500 STANTON CHRISTIANA ROAD
COLUMBUS, OH 43219                                   2ND FLOOR                          3RD FLOOR
                                                     GREENWICH, CT 06831                NEWARK, DE 19713


JEFFERIES & COMPANY, INC.                            JPM/CCS2                           JPMC/INTL
ATTN: CHARLES ERRIGO                                 ATTN: JACOB BACK                   ATTN: NORE SCARLETT
HARBORSIDE FINANCIAL CENTER                          14201 DALLAS PKWY, 1 JIP           4 NEW YORK PLAZA
705 PLAZA 3                                          DALLAS, TX 75254                   11TH FLOOR
JERSEY CITY, NJ 07311                                                                   NEW YORK, NY 10004


JPMC/RBS                                             KEYBANK NATIONAL ASSOCIATION       KNIGHT CLEARING SERVICES LLC
ATTN: NORE SCARLETT                                  ATTN: KAREN BEDNARSKI              ATTN: JANICA BRINK, VP
4 NEW YORK PLAZA                                     4900 TIEDEMAN ROAD                 545 WASHINGTON BLVD.
11TH FLOOR                                           BROOKLYN, OH 44144                 JERSEY CITY, NJ 07310
NEW YORK, NY 10004


KOONCE SECURITIES, INC.                              LEGENT LLC                         LEHMAN BROTHERS, INC.
ATTN: G. SOHAN                                       MEDIANT COMMUNICATIONS LLC         ATTN: JIM GARDINER - REORG
6550 ROCK SPRING DR.                                 ATTN: STEPHANIE FITZHENRY          70 HUDSON STREET
SUITE 600                                            109 NORTH FIFTH STREET             JERSEY CITY, NJ 07302
BETHESDA, MD 20817                                   SADDLE BROOK, NJ 07663


LEK SECURITIES CORP.                                 M&I MARSHALL & ILSLEY BANK/IPA     MEDIANT COMMUNICATIONS
ATTN: DANIEL HANUKA                                  ATTN: JIM HILDEBRANDT              REORG CENTER
140 BROADWAY                                         1000 NORTH WATER STREET            ATTN: STEPHANIE FITZHENRY
29TH FLOOR                                           MILWAUKEE, WI 53202                109 NORTH 5TH STREET
NEW YORK, NY 10005                                                                      SADDLE BROOK, NJ 07663


MERRILL LYNCH, PIERCE, FENNER & SMITH                MESIROW FINANCIAL, INC.            MITSUBISHI UFJ TRUST & BANKING CORP.
ATTN: VERONICA E. O'NEILL OR HENRY MORALES           ATTN: GAIL CORTESE                 ATTN: HOWARD ROSEN
101 HUDSON STREET                                    353 NORTH CLARK STREET             420 FIFTH AVENUE
JERSEY CITY, NJ 07302                                CHICAGO, IL 60654                  6TH FLOOR
                                                                                        NEW YORK, NY 10018


MORGAN KEEGAN & COMPANY, INC.                        MORGAN STANLEY                     MORGAN STANLEY
ATTN: CAROL ANTLEY                                   ATTN: JONATHAN GOLDMAN             ISG OPERATIONS
50 NORTH FRONT STREET                                1300 THAMES STREET                 ATTN: JONATHAN GOLDMAN
MEMPHIS, TN 38103                                    7TH FLOOR                          1300 THAMES STREET
                                                     BALTIMORE, MD 21231                THAMES STREET WHARF, 7TH FLOOR
                                                                                        BALTIMORE, MD 21231
MORGAN STANLEY & CO. INCORPORATED                    NATIONAL FINANCIAL SERVICES LLC    NBCN INC.
ATTN: DAN SPADACCINI                                 ATTN: LOU TREZZA                   DANIEL NTAP
901 SOUTH BOND ST                                    200 LIBERTY STREET                 1010 RUE DE LA GAUCHETIERE WEST
6TH FLOOR                                            NEW YORK, NY 10281                 MONTREAL, QC H3B 5J2
BALTIMORE, MD 21231


NORTHERN TRUST                                       NORTHERN TRUST                     OPTIONSXPRESS, INC
ATTN: PATRICK KRULL, CAPITAL STRUCTURES-C1N          ATTN: ROBERT VALENTIN              ATTN: SCOTT JOHNSON
801 S. CANAL STREET                                  801 S. CANAL STREET                311 W. MONROE STREET
CHICAGO, IL 60607                                    FLOOR C-1N                         SUITE 1000
                                                     CHICAGO, IL 60607                  CHICAGO, IL 60606


PERSHING LLC, A SUBSIDIARY OF THE BNY MELLON CORP.   PNC BANK                           RAYMOND JAMES & ASSOCIATES, INC.
ATTN: CORPORATE ACTIONS                              MAIL STOP F6F266022                ATTN: CHRISTINE PEARSON
AL HERNANDEZ OR CHRISTOPHER VARGUS                   8800 TINICUM BLVD                  P.O. BOX 14407
1 PERSHING PLAZA                                     PHILADELPHIA, PA 19153             ST PETERSBURG, FL 33733
JERSEY CITY, NJ 07399
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RBC DOMINION SECURITIES                            RELIANCE TRUST COMPANY/SWMS1         RICHARDS, MERRILL & PETERSON, INC.
ATTN: DESIREE DMELLO, SHAREHOLDER COMMUNICATIONS   ATTN: LARRAINE LEWIS                 ATTN: THOMAS MCDONALD
277 FRONT STREET WEST                              7650 MAGNA DRIVE                     ONE SKYWALK, US BK BLDG
TORONTO, ON M5J 2W7                                BELLEVILLE, IL 62223                 422 WEST RIVERSIDE AVE
                                                                                        SPOKANE, WA 99201


SCOTIA CAPITAL INC.                                SEI PRIVATE TRUST COMPANY            SSB/FRANK
SCOTIA PLAZA                                       ONE FREEDOM VALLEY DRIVE             ATTN: RYAN WELLS
40 KING STREET WEST                                OAKS, PA 19456                       1776 HERITAGE DRIVE
23RD FLOOR                                                                              JAB5WE
TORONTO ON M5W 2X6                                                                      NORTH QUINCY, MA 02171


STATE STREET CORPORATION                           STOEVER, GLASS & CO., INC.           SUNTRUST BANK
ATTN: DUSTIN TOPJIAN                               ATTN: EVA HRASTNIG-MIERAS            ATTN: JULIA COLANTUONO
GLOBAL SERVICES                                    30 WALL STREET                       P. O. BOX 105504
ONE LINCOLN STREET                                 NEW YORK, NY 10005                   CENTER 3141
BUILDING JAB5E                                                                          ATLANTA, GA 30348
NORTH QUINCY, MA 02171
SWENEY CARTWRIGHT & COMPANY                        TEXAS TREASURY SAFEKEEPING           THE BANK OF NEW YORK MELLON /BARCLAY
ATTN: LAURA CHAPMAN                                ATTN: JANIE DOMINGUEZ                ATTN: MICHAEL KANIA, VP
17 SOUTH HIGH STREET                               SETTLEMENTS & CUSTODY SERVICES       525 WILLIAM PENN PLACE
ROOM 300                                           208 EAST 10TH STREET, 4TH FL.        PITTSBURGH, PA 15259
COLUMBUS, OH 43215                                 AUSTIN, TX 78701


TIMBER HILL, LLC                                   TRADITION ASIEL SECURITIES INC.      UBS AG STAMFORD BRANCH/AS CUSTODIAN
ATTN: KARIN MCCARTHY                               ATTN: EMIL SOLDATI, EXEC. DIRECTOR   ATTN: MICHAEL MARCIANO
8 GREENWICH OFFICE PARK                            75 PARK PLACE                        677 WASHINGTON BLVD
GREENWICH, CT 06831                                NEW YORK, NY 10007                   9TH FLOOR
                                                                                        STAMFORD, CT 06901


UBS SECURITIES LLC                                 UMB BANK, NATIONAL ASSOCIATION       UNION BANK & TRUST COMPANY
ATTN: MICHAEL MARCIANO                             ATTN: KAREN LIGHTFOOT, VP            C/O PROXY TRUST
480 WASHINGTON BLVD.                               928 GRAND BLVD.                      ATTN: TAMMY ENGLE
JERSEY CITY, NJ 07310                              MAILSTOP 1010404                     PO BOX 11126
                                                   KANSAS CITY, MO 64106                HAUPPAUGE, NY 11788


UNION BANK & TRUST COMPANY                         WILLIAM BLAIR & COMPANY, L.L.C.      WILMINGTON TRUST CO.
C/O PROXYTRUST                                     ATTN: MARIUSZ NIEDBALEC              ATTN: ANN DONALDSON
ATTN: TAMMY ENGLE                                  222 WEST ADAMS STREET                1100 NORTH MARKET STREET
HAUPPAUGE, NY 11788                                CHICAGO, IL 60606                    WILMINGTON, DE 19890
